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												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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												ORAL ARGUMENT CALENDARView Calendar
Current Month august, 2017
			
				
				
				
				
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			Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				15aug10:00 am4:00 pmOral Arguments
							Event DetailsTuesday, August 15, 2017
10:00 AM
S17G0042 Wood v. The State
S17G0433 SunTrust Bank v. Lilliston et al.
S17G0118 Jones v. The State

2:00 PM

S17A1421 Hall County Board of Tax Assessors v. Westrec Properties,
							
							
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									Event Details
									Tuesday, August 15, 2017
10:00 AM
S17G0042 Wood v. The State
S17G0433 SunTrust Bank v. Lilliston et al.
S17G0118 Jones v. The State
2:00 PM
S17A1421 Hall County Board of Tax Assessors v. Westrec Properties, Inc.
S17A1422 Hall County Board of Tax Assessors v. PS Recreational Properties, I.
S17A1423 Hall County Board of Tax Assessors v. Chattahoochee Parks, Inc.
S17A1424 Hall County Board of Tax Assessors v. March First, Inc.
S17A1425 Hall County Board of Tax Assessors v. AMP III-Lazy Days, LLC
S17A1539 Bozzie v. The State
S17A1385 Womac v. The State

								
							
						
						
							
							
								
									
																
										Time(Tuesday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
												
							
							
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				6/28/17 – Comments Sought on Interim Rules for New Judicial Qualifications Commission
						
				
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